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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,                                )
                                                          )
                                   Plaintiff,             )       Misc. No.: 21-1344
                                                          )
                              v.                          )       (Related to Criminal No. 04-82)
                                                          )
 BRYAN J. HAWES,                                          )
                                                          )
                                   Defendant,             )
                                                          )
 BLOCKFI INC.,                                            )
 and its successors and assigns,                          )       ELECTRONICALLY FILED
                                                          )
                                   Garnishee.             )


                       APPLICATION FOR WRIT OF GARNISHMENT

        The United States of America, Plaintiff, makes application in accordance with 28 U.S.C.

§ 3205(b)(1) to the United States District Court to direct the Clerk of the United States District

Court to issue a Writ of Garnishment upon the judgment and restitution order (“Judgment”), entered

on March 19, 2009, against the Defendant in the above-cited action, BRYAN J. HAWES, Social

Security Number           5045, whose last known address is

     Wexford, PA          .

        The total balance due on the Judgment as of November 19, 2021, is $1,057,684.73.

        Not less than thirty (30) days have elapsed since the demand on the debtor for payment of

the debt was made and the judgment debtor has not paid the amount due.

        The United States believes that the Garnishee owes or will owe money or property to the

Defendant or is in possession of property of the Defendant, including but not limited to:

cryptocurrency assets associated with Account ID: 3072d618, including but not limited to

cryptocurrencies BTC and GUSD. The United States also believes the Defendant holds a non-
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exempt interest in this property. The name and address of the Garnishee is: BlockFi Inc., 201

Montgomery Street, #263, Jersey City, NJ 07302.

                                                      Respectfully submitted,

                                                      CINDY K. CHUNG
                                                      United States Attorney


                                                      /s/ David Lew
                                                      DAVID LEW
                                                      Assistant U.S. Attorney
                                                      Counsel for Plaintiff
                                                      700 Grant Street, Suite 4000
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                                                      (412) 644-5870- fax
                                                      PA ID No. 320338 (ss)




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